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                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 JOSEPH N. MECCA, on behalf of                       CIVIL COMPLAINT
 himself and all others similarly situated,

 Plaintiff,                                          CASE NO. 4:20-cv-00353

 v.
                                                     DEMAND FOR JURY TRIAL
 PROCOLLECT, INC.,

 Defendant.


                                   CLASS ACTION COMPLAINT

        NOW COMES Joseph N. Mecca (“Plaintiff”), by and through his attorneys, Sulaiman Law

Group, Ltd. (“Sulaiman”), on behalf of himself and all others similarly situated, complaining as to

the conduct of ProCollect, Inc. (“Defendant”) as follows:

                                        NATURE OF THE ACTION

      1. Plaintiff brings this putative class action on behalf of himself and numerous other

individuals seeking redress for violations of the Fair Debt Collection Practices Act (“FDCPA”)

pursuant to 15 U.S.C. §1692, violations of the Telephone Consumer Protection Act (“TCPA”)

pursuant to 47 U.S.C. §227, and violations of the Texas Debt Collection Act (“TDCA”) pursuant

to Tex. Fin. Code Ann. §392 for Defendant’s unlawful conduct.

                                       JURISDICTION AND VENUE

      2. Subject matter jurisdiction is conferred upon this Court by the FDCPA, TCPA, and 28

U.S.C. §§1331 and 1337, as the action arises under the laws of the United States.

      3. The Court has supplemental jurisdiction over the state law TDCA claim under 28 U.S.C.

§1367.



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   4. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) as Plaintiff resides in the

Southern District of Texas, Defendant conducts business in the Southern District of Texas, and a

substantial portion of the events or omissions giving rise to the claims occurred within the Southern

District of Texas.

                                             PARTIES

   5. Plaintiff is a consumer and natural person over 18-years-of-age and is a “consumer” as the

term is defined by 15 U.S.C §1692a(3), and is a “person” as defined by 47 U.S.C. §153(39).

   6. Defendant is a debt collection company with its principal place of business located at 12170

North Abrams Road, Suite 100, Dallas, Texas 75243. Defendant regularly collects defaulted debts

owed to others from consumers located within the State of Texas.

   7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   8. At all times, Defendant acted through its duly authorized agents, employees, officers,

members, directors, heirs, successors, assigns, vendors, principals, trustees, sureties, subrogees,

representatives, and insurers.

                             FACTS SUPPORTING CAUSES OF ACTION

   9. Prior to the events giving rise to this cause of action, Plaintiff defaulted on payments in

connection with his apartment in the Woodland Hill Village apartment complex (“subject debt”).

   10. Subsequently thereafter, Defendant acquired the right to collect on the defaulted subject

debt.

   11. In or around November 2019, Defendant began placing collection calls to Plaintiff’s

cellular telephone number (484) XXX-9158, in an attempt to collect on the allegedly defaulted

subject debt.




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   12. Plaintiff was the sole subscriber, owner, possessor, and operator of the cellular telephone

ending in 9158.

   13. Immediately after the calls began, Plaintiff answered a phone call from Defendant and was

greeted by a pre-recorded message stating:

        “This is a personal business alert for Joseph Mecca Jr. If you are not Joseph Mecca
       Jr. Please hang up at this time. This message contains private information and
       should not be played in a manner where it can be heard by others. This call is from
       ProCollect, this communication is from a debt collector and any information
       obtained will be used for that purpose. Press 1 if you are Joseph Mecca Jr.”

   14. Plaintiff pressed 1 and was connected to a representative for Defendant who requested

immediate payment on the subject debt.

   15. Plaintiff advised Defendant that the debt was not valid and he would not pay it.Plaintiff

also demanded that Defendant stop calling him.

   16. Plaintiff’s demand that Defendant’s phone calls cease fell on deaf ears and Defendant

continued its phone harassment campaign.

   17. On or around December 20, 2019, Plaintiff answered another call from Defendant and was

greeted by the same pre-recorded message asking him to verify his identity.

   18. Plaintiff pressed 1 and was connected to a representative for Defendant and Plaintiff once

again demanded that Defendant stop calling him.

   19. The representative for Defendant told Plaintiff, “You need to learn how to pay your damn

bills.” Plaintiff requested to speak with a manager, but the representative for Defendant refused to

connect him to one and ended the call.

   20. The representative for Defendant told Plaintiff she was marking him down as refusal to

pay and that he would never get an apartment again. The representative further stated that if




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payment was not made by December 27, 2019, the subject debt would be reported on Plaintiff’s

credit report and his credit would be ruined.

   21. Plaintiff reiterated one last time that he wanted Defendant to stop calling him.

   22. When Plaintiff did not answer Defendant’s calls, Defendant would leave Plaintiff a pre-

recorded voice mail message stating: “This is a personal business

   23. Despite Plaintiff’s multiple requests that Defendant cease calling him, Defendant has

placed or caused to be placed numerous phone calls to Plaintiff’s cellular telephone from

November 2019 through the present day using pre-recorded voice technology.

   24. Moreover, Defendant placed its calls to Plaintiff’s cellular telephone using an automated

telephone dialing system (“ATDS”), a telephone dialing system that is commonly used in the debt

collection industry to collect defaulted debts.

   25. Defendant uses the phone number (214) 382-4871 to call Plaintiff, but upon information

and belief, it may use other phone numbers to contact Plaintiff on his cellular phone.

                                                  DAMAGES

   26. Defendant’s harassing phone calls have severely disrupted Plaintiff’s daily life and general

well-being.

   27. Defendant’s phone harassment campaign and illegal collection activities have caused

Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion upon

and occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time, the increased

risk of personal injury resulting from the distraction caused by the incessant phone calls,

aggravation that accompanies unsolicited telephone calls, emotional distress, mental anguish,

anxiety, loss of concentration, diminished value and utility of telephone equipment and telephone




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subscription services, the loss of battery charge, and the per-kilowatt electricity costs required to

recharge his cellular telephone as a result of increased usage of his telephone services.

   28. In addition, each time Defendant placed a telephone call to Plaintiff, Defendant occupied

Plaintiff’s telephone number such that Plaintiff was unable to receive other phone calls.

   29. Concerned about the violations of his rights and invasion of his privacy, Plaintiff was

forced to seek the assistance of counsel to file this action to compel Defendant to cease its unlawful

conduct.

                                  CLASS ACTION ALLEGATIONS

   30. Plaintiff brings this action on his own behalf and on behalf of all similar situated persons

in the United States who can be defined as follows:

               All persons in the United States with United States based telephone
               numbers who received a telephone call to their cellular phones
               within the last four years by Defendant where Defendant placed the
               phone calls using pre-recorded voice technology after the called
               parties told Defendant to stop calling.

   31. This action is properly maintainable as a class action under Federal Rule of Civil

Procedure 23(a).

   32. The Class consists of hundreds or more persons throughout the United States, such that

joinder of all Class members is impracticable.

   33. There are questions of law and fact that are common to the Class members that relate to

Defendant’s violations of the TCPA, particularly because these are based on a common course of

conduct by Defendant.

   34. The claims of Plaintiff are typical of the claims of the proposed Class because they are

based on the same legal theories, and Plaintiff has no interest that are antagonistic to the interests

of the Class members.

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    35. Plaintiff is an adequate representative of the Class and has retained competent legal counsel

experienced in class actions and complex litigation.

    36. The questions of law and fact common to the Class predominate over any questions

affecting only individual Class members, particularly because the focus of the litigation will be on

the conduct of Defendant. The predominant questions of law and fact in this litigation include, but

are not limited to: (i) whether Defendant violated the TCPA by using an automatic telephone

dialing system to call persons and using a pre-recorded message to verify the person’s identity

before connecting them to a live agent; (ii) whether Defendant violated the FDCPA by continuing

to place phone calls to persons who disputed the validity of the debt that was the subject of said

phone calls; and (iii) the type and amount of relief to which the Plaintiff and Class members are

entitled.

    37. A class action is superior to other available methods for the fair and efficient adjudication

of this controversy, as the pursuit of hundreds of individual lawsuits would cause a strain on

judicial resources and could result in inconsistent or varying adjudications, yet each Class member

would be required to prove an identical set of facts in order to recover damages.

            COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

    38. Plaintiff restates and realleges paragraphs 1 through 37 as though fully set forth herein.

    39. Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

    40. Defendant is a “debt collector” as defined by §1692a(6) because its primary business is the

collection of delinquent debts and it regularly collects debts and uses the mail and/or the telephones

to collect delinquent accounts allegedly owed to a third party.

    41. Moreover, Defendant is a “debt collector” because it acquired rights to the subject debt

after it was in default. 15 U.S.C. §1692a(6).



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   42. The debt in which Defendant attempting to collect upon is a “debt” as defined by FDCPA

§1692a(5) as it arises out of a transaction due or asserted to be owed or due to another for personal,

family, or household purposes.

   43. Defendant used the phone to attempt to collect the subject debt and, as such, engaged in

“communications” as defined in FDCPA §1692a(2).

   44. Defendant’s communications to Plaintiff were made in connection with the collection of

the subject debt.

   45. Defendant violated 15 U.S.C. §§1692c(a)(1), d, and d(5) through its unlawful debt

collection practices on a debt that never belonged to Plaintiff.

       a. Violations of FDCPA § 1692c

   46. Defendant violated §1692c(a)(1) when it continuously called Plaintiff after being notified

to stop. This repeated behavior of continuously and systematically calling Plaintiff’s cellular phone

over and over after he demanded that it cease contacting him was harassing and abusive. Even

after being told to stop contacting him and that the debt was invalid, Defendant continued its

onslaught of phone calls with the specific goal of oppressing and abusing Plaintiff into making a

payment on the subject debt.

   47. Furthermore, the volume of calls shows that Defendant willfully ignored Plaintiff’s pleas

with the goal of annoying and harassing him into submission.

   48. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient, unwanted, and distressing to him.

       b. Violations of FDCPA § 1692d

   49. Defendant violated §1692d by engaging in abusive, harassing, and oppressive conduct by

relentlessly calling Plaintiff’s cellular phone seeking immediate payment on the subject debt.



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Moreover, Defendant continued placing the relentless calls after Plaintiff put Defendant on notice

that its calls were not welcome on multiple occasions.

   50. Defendant violated §1692d(5) by causing Plaintiff’s cellular phone to ring repeatedly and

continuously in an attempt to engage Plaintiff in conversations regarding the collection of the

subject debt with the intent to annoy, abuse, or harass Plaintiff. Furthermore, Defendant continued

to place these calls after Plaintiff informed Defendant its calls were no longer welcome.

Specifically, Defendant placed or caused to be placed numerous harassing phone calls to Plaintiff’s

cellular telephone from November 2019 through the present day, using an ATDS without his prior

consent.

   51. As an experienced debt collector, Defendant knew or should have known the ramifications

of collecting on a debt through incessant harassing phone calls to the phones of consumers that do

not legally owe such debt.

   52. Upon information and belief, Defendant systematically attempts to collect debts through

harassing conduct and has no procedures in place to assure compliance with the FDCPA.

   53. As stated above, Plaintiff was severely harmed by Defendant’s conduct.

WHEREFORE, Plaintiff JOSEPH N. MECCA respectfully requests that this Honorable Court:
    a. Declare that the practices complained of herein are unlawful and violate the
            aforementioned statute;
       b. Award Plaintiff statutory and actual damages, in an amount to be determined at trial,
            for the underlying FDCPA violations;
       c. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
            §1692k; and
       d. Award any other relief as the Honorable Court deems just and proper.

           COUNT III – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   54. Plaintiff restates and realleges paragraphs 1 through 55 as though fully set forth herein.


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    55. Defendant placed or caused to be placed non-emergency calls, including but not limited to

the calls referenced above, to Plaintiff’s cellular telephone using an automatic telephone dialing

system (“ATDS”) without his prior consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

    56. The TCPA defines ATDS as “equipment which has the capacity...to store or produce

telephone numbers to be called, using a random or sequential number generator; and to dial such

numbers.” 47 U.S.C. §227(a)(1).

    57. As discussed above, based on Defendant’s pre-recorded messages and lack of prompt

human response during the phone calls in which Plaintiff answered, Defendant used an ATDS to

place calls to Plaintiff’s cellular telephone.

    58. Based on the pre-recorded messages Plaintiff heard during the phone calls in which

Plaintiff answered, Defendant placed these aforementioned calls to Plaintiff using pre-recorded

voice technology.

    59. Upon information and belief, the ATDS employed by Defendant transfers the call to a live

agent once a human voice is detected, thus resulting in a pause after the called party speaks into

the phone.

    60. Any prior consent, if any, was revoked by Plaintiff’s verbal revocation.

    61. As pled above, Plaintiff was severely harmed by Defendant’s collection calls to his cellular

phone.

    62. Upon information and belief, Defendant has no system in place to document and archive

whether it has consent to contact consumers on their cellular phones.

    63. Upon information and belief, Defendant knew its collection practices were in violation of

the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.




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   64. Upon information and belief, Defendant’s phone system stores telephone numbers to be

called, using a random or sequential number generator, which it used to call Plaintiff on his cellular

phone.

   65. Defendant violated the TCPA by placing numerous phone calls to Plaintiff’s cellular

telephone between November 2019 and the present day, using an ATDS without his consent.

   66. The calls placed by Defendant to Plaintiff were regarding business activities and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   67. Defendant, through its agents, representatives, subsidiaries, and/or employees acting

within the scope of their authority acted intentionally in violation of 47 U.S.C. §227(b)(1)(A)(iii).

   68. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of

$500 per call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and knowing

violations of the TCPA should trigger this Honorable Court’s ability to triple the damages to which

Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).

WHEREFORE, Plaintiff, JOSEPH N. MECCA, respectfully requests that this Honorable Court
enter judgment in his favor as follows:
    a. Declare Defendant’s phone calls to Plaintiff to be violations of the TCPA;
   b. Award Plaintiff damages of at least $500 per phone call and treble damages pursuant to 47
         U.S.C. § 227(b)(3)(B)&(C);
   c. Enjoining Defendant from further contacting Plaintiff; and
   d. Awarding any other relief as this Honorable Court deems just and appropriate.

                 COUNT IV – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   69. Plaintiff restates and realleges paragraphs 1 through 68 as though fully set forth herein.

   70. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   71. Defendant is a “third party collector” as defined by Tex. Fin. Code Ann § 392.001(7).




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   72. The subject debt is a “debt” and a “consumer debt” as defined by Tex. Fin. Code Ann. §

392.001(2) as it is an obligation, or alleged obligation, arising from a transaction for personal,

family, or household purposes.

           a. Violations of TDCA § 391.302

   73. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

   74. Defendant violated the TDCA when it called Plaintiff repeatedly despite his multiple

requests that the calls cease. The repeated calls were made with the hope that Plaintiff would

succumb to the harassing behavior and ultimately make a payment on the subject debt.

   75. Upon being told to stop calling, Defendant had ample reason to be aware that it should not

continue its harassing calling campaign. Yet, Defendant consciously chose to continue placing

systematic calls to Plaintiff’s cellular phone knowing that its conduct was unwelcome.

WHEREFORE, Plaintiff JOSEPH N. MECCA respectfully requests that this Honorable Court:

       a. Declare that the practices complained of herein are unlawful and violate the
           aforementioned statute;
       b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);
       c. Award Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);
       d. Award Plaintiff punitive damages, in an amount to be determined at trial, for the
           underlying violations;
       e. Award Plaintiff costs and reasonable attorney fees as provided under Tex. Fin. Code
           Ann. § 392.403(b) ; and
       f. Award any other relief as the Honorable Court deems just and proper.

Plaintiff demands trial by jury.


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Dated: January 31, 2020                        Respectfully Submitted,

                                               /s/ Omar T. Sulaiman
                                               /s/ Alexander J. Taylor
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